       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 1 of 28



 1   John V. Picone III, Bar No. 187226
     jpicone@hopkinscarley.com
 2   Jeffrey M. Ratinoff, Bar No. 197241
     jratinoff@hopkinscarley.com
 3   HOPKINS & CARLEY
     A Law Corporation
 4   The Letitia Building
     70 South First Street
 5   San Jose, CA 95113-2406
     mailing address:
 6   P.O. Box 1469
     San Jose, CA 95109-1469
 7   Telephone:     (408) 286-9800
     Facsimile:     (408) 998-4790
 8
     Attorneys for Plaintiffs and Counter-Defendants
 9   NEO4J, INC. and NEO4J SWEDEN AB
10   Adron W. Beene, Bar No. 129040
     adron@adronlaw.com
11   Adron G. Beene SB# 298088
     adronjr@adronlaw.com
12   Attorney at Law
     7960 Soquel Drive Suite #296
13   Aptos, CA 95003
     Tel: (408) 392-9233
14
     Attorneys for Defendants and Counterclaimants
15   PURETHINK LLC, IGOV INC., and JOHN
     MARK SUHY
16

17                                     UNITED STATES DISTRICT COURT

18                                NORTHERN DISTRICT OF CALIFORNIA

19   NEO4J, INC., a Delaware corporation,                 CASE NO. 5:18-cv-07182-EJD
     NEO4J SWEDEN, AB, a Swedish
20   corporation,                                         STIPULATION TO THE AMOUNT OF
                                                          PLAINTIFFS’ LOST PROFITS AND
21                       Plaintiffs,                      DEFENDANTS’ PROFITS
22            v.                                          Trial Date: November 14, 2023
23   PURETHINK LLC, a Delaware limited
     liability company, IGOV INC., a Virginia
24   corporation, and JOHN MARK SUHY, an
     individual,
25
                         Defendants.
26

27   AND RELATED COUNTERCLAIMS.
28
     4885-7955-3940.2
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 2 of 28



 1                                               STIPULATION
 2            This Stipulation is made between Plaintiffs and Counter-Defendants Neo4j, Inc. (“Neo4j
 3   USA”) and Neo4j Sweden AB (collectively “Plaintiffs”) and Defendants and Counterclaimants
 4   PureThink LLC, iGov Inc. and John Mark Suhy (collectively, “Defendants”) through their
 5   respective counsel as follows:
 6            WHEREAS, on November 28, 2023 at trial, Plaintiffs offered Steven Boyles an expert
 7   witness to provide his opinions and conclusions on the actual damages in the form of net lost profits
 8   that Plaintiffs incurred as a result of Defendants’ violations of the DMCA and Lanham Act that
 9   were the subject of the Court’s orders granting Plaintiffs’ motions for summary judgment. See Dkt.
10   Nos. 118, 216, 229.
11            WHEREAS, on November 28, 2023 at trial, Plaintiffs also offered Steven Boyles an expert
12   witness to provide his opinions and conclusions on the gross profits that Defendants generated from
13   providing support and development services to the IRS through contracts with eGovernment
14   Solutions and ASR Analytics, LLC. See Dkt. Nos. 118, 216, 229.
15            WHEREAS, Plaintiffs and Defendants (collectively, the “Parties”) agreed that in lieu of Mr.
16   Boyles testifying in full regarding the basis for his opinions and calculations of the amount of actual
17   damages that Plaintiffs incurred as a result of Defendants’ violations of the DMCA and Lanham
18   Act, and the gross profits that Defendants generated from providing support and development
19   services to the IRS, the parties would stipulate to those calculations and their underlying basis, as
20   well as his conclusions and interest calcuations through December 1, 2023.
21            ACCORDINGLY, the Parties HEREBY STIPULATE to the following undisputed facts,
22   calculations and conclusions for incorporation into the trial record without the necessity of
23   supporting testimony or exhibits:
24            1.        The Maryland Procurement Office (a/k/a the National Security Agency, the NSA
25   and the MPO) tasked Next Century to analyze available graph database technologies, including
26   Neo4j® EE.
27            2.        Next Century and the MPO required the enterprise-only features, such as causal
28   clustering and multi-data centers, offered by both Neo4j® EE and ONgDB.
     4885-7955-3940.2
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 3 of 28



 1            3.        Next Century learned about the pricing of Neo4j Enterprise software bundles
 2   offered by Neo4j USA and iGov from iGov’s website.
 3            4.        In October 2018, Next Century exchanged emails with Suhy regarding
 4   representations made on iGov’s website that ONgDB v3.4 was an open source version of Neo4j®
 5   EE that provided the same enterprise-only features for free.
 6            5.        Suhy told Next Century that the MPO could use ONgDB v3.4 under the AGPL
 7   without restrictions or paying Plaintiffs for a commercial license, as advertised on the iGov’s
 8   website.
 9            6.        As a result of Next Century’s communications with Suhy, Next Century
10   downloaded ONgDB v3.4 and began evaluating against Neo4j® EE v3.4.
11            7.        Defendants’ removal of the Commons Clause from the license governing ONgDB
12   enabled Next Century and the MPO to use ONgDB for free rather than pay for a commercial
13   license to Neo4j® EE.
14            8.        In a series of emails with Next Century ending on January 4, 2019, Suhy confirmed
15   that ONgDB v3.5 would have feature parity with the enterprise features of Neo4j® EE v3.5, and
16   would also be available without restrictions on the number of clusters, instances and cores and
17   without paying Neo4j USA for a commercial license. This led Next Century to upgrade from
18   ONgDB v3.4 to ONgDB v3.5 for use in the KMS Project.
19            9.        By February 2019, the MPO had chosen to use ONgDB v3.5 over Neo4j® EE v3.5
20   for continued development work for the MPO for use in the KMS Project.
21            10.       On February 5, 2019, Next Century informed Neo4j USA of this decision, stating,
22   “[w]e have found that open-sourced (non-commercial) builds from the Neo4j source code provide
23   the clustering and security requirements needed in our environment.”
24            11.       In March 2019, Next Century gave Neo4j USA the required specifications for its
25   ongoing KMS Project with the MPO and ask for Neo4j USA for a quote for use in a production
26   environment.
27            12.       On April 19, 2019, Jason Zagalsky of Neo4j USA sent a 3-year Neo4j Enterprise
28   Edition Enterprise Bundle based on those requirements (TX118).
     4885-7955-3940.2                                   -3-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 4 of 28



 1            13.       On April 29, 2019, Next Century confirmed that it shared Neo4j USA’s proposal
 2   with the MPO, and was instructed by the MPO to continue using ONgDB. The reason for the MPO
 3   continuing to use ONgDB over Neo4j® EE was price.
 4            14.       On July 21, 2019, Next Century informed Neo4j USA that the MPO was not
 5   interested in the Neo4j® EE proposal. Again, the deciding factor between ONgDB and Neo4j®
 6   EE was price.
 7            15.       Next Century continued to use ONgDB v3.5, which was placed into a production
 8   environment for the MPO in or about October 2020.
 9            16.       The hypothetical negotiation between Neo4j USA on one hand, and Next Century
10   and the MPO on the other hand for a commercial license to Neo4j® EE for use in the KMS Project
11   would have occurred in April 2019 (TX118).
12            17.       Under the April 19, 2019 proposal (TX118), Next Century and the MPO had the
13   option to (a) purchase three one-year subscriptions on an incremental basis for a total of $2,667,00
14   (“MPO Undiscounted Fee”); or (b) purchase a 3-year subscription for a total of $2,266,950, which
15   reflects a 15% multi-year, paid up front discount (“MPO Discounted Fee”).
16            18.       The MPO’s willingness to pay for a commercial license for Neo4j® EE for the
17   KMS Project is supported by its history of purchasing both discounted multi-year commercial
18   licenses for Neo4j® EE and purchasing 1-year commercial licenses and renewing those licenses
19   at undiscounted amounts (TX15, Lines 337-343).
20            19.       Neo4j USA’s sale of a commercial license to Next Century and the MPO for the
21   KMS Project would have been through its reseller, Intellipeak. As a result, a reseller fee of 7%
22   would be applied to the total discounted amount of a multi-year deal with Next Century and the
23   MPO, as well as to the purchase of a one-year subscription and each subsequent renewal thereof.
24            20.       In 2018, employee commissions paid by Neo4j USA on commercial license sales
25   averaged 15.26%. In 2019, employee commissions paid by Neo4j USA on commercial license
26   sales averaged 13.27%.        The employee commission cost would apply to the entire MPO
27   Discounted Fee, while the employee commissions cost would only apply to the first year’s revenue
28   of year-to-year renewals on the MPO Undiscounted Fee.
     4885-7955-3940.2                                   -4-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 5 of 28



 1            21.       As reflected by Exhibit 1 (Slide 13) hereto, Neo4j USA’s net lost profits for the
 2   KMS Project based on the MPO Discounted Fee and the 2018 employee commission fee of 15.26%
 3   is $1,786,542. Using the one-year treasury rate, which ranged between .07% and 5.36% and
 4   compounding interest on an annual basis, the total prejudgment interest accrued on this amount
 5   through December 1, 2023 is $132,308.
 6            22.       As reflected by Exhibit 1 (Slide 13) hereto, Neo4j USA’s net lost profits for the
 7   KMS Project based on the MPO Discounted Fee and the 2019 employee commission fee of 13.27%
 8   is $1,828,497. Using the one-year treasury rate, which ranged between .07% and 5.36% and
 9   compounding interest on an annual basis, the total prejudgment interest accrued on this amount
10   through December 1, 2023 is $135,282.
11            23.       As reflected by Exhibit 1 (Slide 13) hereto, Neo4j USA’s net lost profits for the
12   KMS Project based on the MPO Undiscounted Fee and the 2018 employee commission fee of
13   15.26% is $2,354,145. Using the one-year treasury rate, which ranged between .07% and 5.36%
14   and compounding interest on an annual basis, the total prejudgment interest accrued on this amount
15   through December 1, 2023 is $139,069.
16            24.       As reflected by Exhibit 1 (Slide 13) hereto, Neo4j USA’s net lost profits for the
17   KMS Project based on the MPO Undiscounted Fee and the 2019 employee commission fee of
18   13.27% is $2,370,598. Using the one-year treasury rate, which ranged between .07% and 5.36%
19   and compounding interest on an annual basis, the total prejudgment interest accrued on this amount
20   through December 1, 2023 is $140,288.
21            25.       Suhy submitted a bid for a new contract issued by the IRS via another entity that
22   he had an ownership interest in at the time, eGovernment Solutions, Inc. (“eGov Sol” or “eGov
23   Solutions”).
24            26.       Under the proposal for the new contract signed by Suhy, the scope of work required
25   iGov to perform “all operations and maintenances duties for all components of the CKGE
26   framework….” iGov would also be “responsible for ensuring any open source products within
27   the CKGE conform to their license-terms” and iGov would “need to work with the following
28   components: React, Angularjs, Neo4j….”
     4885-7955-3940.2                                   -5-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 6 of 28



 1            27.       On May 22, 2018, Neo4j USA informed the IRS, including those in RAAS, that
 2   Neo4j Sweden added Commons Clause to Neo4j® EE 3.4, and the resulting need to obtain a
 3   commercial subscription if they intended to use that software in the CKGE platform.
 4            28.       On May 22, 2018, Suhy sent an email to the IRS claiming Neo4j Sweden could not
 5   add the Commons Clause to the license governing Neo4j® EE v3.4.
 6            29.       On May 24, 2018, the RAAS division of the IRS awarded eGov Solutions the new
 7   contract, Order No. 2032H8-18-P-00151, as amended Order No. 2032H8-18-P-00168, to further
 8   develop and support the CKGE in May 2018 (“CKGE Contract”).
 9            30.       In July 2018, Jason Zagalsky of Neo4j USA, met with employees of the IRS, and
10   then provided a requested quote of $156,000 for one-year subscription and a $397,800 for a 3-year
11   subscription for a Neo4j® EE v3.4 based on then-current requirements of CKGE.
12            31.       As of August 2018, the IRS understood that Neo4j® CE had a performance
13   limitation to only 4 cores, while Neo4j® EE had enterprise-only features, came with professional
14   services and subscriptions, and was priced based on number of cores.
15            32.       Under the CKGE Contract, Suhy provided input in the architecture design and
16   hardware requirements needed to run ONgDB installations on multiple servers within the CKGE.
17            33.       In August 2018, Suhy recommended that the IRS integrate ONgDB v3.4 rather than
18   Neo4j® EE v3.4 in the CKGE framework, and claimed that “ONgDB open source licenses come
19   directly from the Graph Foundation as well, not from Neo4j Inc.”
20            34.       Based on Suhy’s recommendation, Mike Dunn at the IRS instructed him to “[g]o
21   ahead and integrate the ONgDB into the CKGE framework we’ll deploy” on August 14, 2018.
22            35.       While working at the IRS, Mr. Suhy helped the IRS upload ONgDB source code
23   into the IRS’s internal repository.
24            36.       The IRS decided to not allocate $156,000 for a license to use Neo4j® EE in the
25   CKGE platform because ONgDB was a free and open, unrestricted alternative.
26            37.       Under the CKGE contract, Suhy and iGov were responsible for supporting,
27   maintaining and updating ONgDB in an internal GitLab repository for the RAAS at the IRS.
28            38.       Under the CKGE contract, Suhy and iGov helped the IRS upgrade the CKGE
     4885-7955-3940.2                                   -6-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 7 of 28



 1   platform to ONgDB v3.5 in April 2019 and integrated subsequent subversions through at least
 2   April 2022.
 3            39.       After April 2022, the IRS started calling ONgDB v3.5 just “GDB” due to the
 4   injunction entered against GFI and its rollback of ONgDB source code.
 5            40.       GDB was merely a name change because it was still based on Neo4j® EE v3.5
 6   source code that was improperly licensed under the AGPL without the Commons Clause, which
 7   Suhy continued to be responsible for maintaining on the IRS’s internal Gitlab repository.
 8            41.       The IRS used at least one Neo4j® enterprise-only feature, node ID, via ONgDB in
 9   CKGE.
10            42.       The IRS understood that Neo4j® EE can run Cypher queries significantly faster
11   than Neo4j® CE, which is advantageous in terms of productivity.
12            43.       The initial hardware available to run Neo4j® EE in the IRS’s pre-CKGE platform
13   were for one server with at least 16 cores and 1 terabyte of RAM under the September 23, 2016
14   contract award to PureThink.
15            44.       As of December 2018, the CKGE (a/k/a “main graph”) was running, or was
16   expected to be running, on at least two production servers and one development server utilizing
17   ONgDB. Each machine was comprised of a DL380 with 32 cores and 256GB of RAM at
18   minimum.
19            45.       Between 2019 and 2022, the IRS was running ONgDB on three production servers,
20   and one development server in the CKGE.
21            46.       Each machine in the CKGE running ONgDB between December 2018 and
22   November 2022 was comprised of a DL380 with 32 cores and 256GB of RAM.
23            47.       As of November 2022, the IRS switched to running ONgDB on two production
24   servers in the CKGE. Thereafter, the IRS would only want the bare-minimum Neo4j® EE package
25   for two nodes, each with 16 cores and 256GB RAM for the CKGE.
26            48.       Defendants’ removal of the Commons Clause from the license governing ONgDB
27   enabled the IRS to use ONgDB for free rather than pay for a commercial license to Neo4j® EE
28   beyond the CKGE.
     4885-7955-3940.2                                   -7-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 8 of 28



 1            49.       Between December 2018 and 2021, one instance of ONgDB was running on its
 2   own server in YK1 at the IRS. In 2022, two instance of ONgDB in production and two instances
 3   of ONgDB in development/test in YK1 at the IRS.
 4            50.       Starting in 2019 and continuing through 2022, the IRS ran separate instances of
 5   ONgDB in additional projects, including Corporate Graph, Excise Graph, COVID Graph, Policy
 6   Net, Individual Graph, CPEO Graph and Ghost Preparer.
 7            51.       The minimum server specifications for YK1, Corporate Graph, Excise Graph,
 8   COVID Graph project, Policy Net, Individual Graph, CPEO Graph and Ghost Preparer running
 9   ONgDB were DL380 with 12 cores and 256GB of RAM.
10            52.       The IRS’s willingness to pay for a commercial license for Neo4j® EE for the
11   CKGE and other projects that used ONgDB is supported by its history of purchasing 1-year
12   commercial licenses to Neo4j® EE at discounted amounts and renewing those licenses in other
13   instances (TX15, Lines 263-277).
14            53.       August 1, 2018 and August 1, 2019 are two hypothetical negotiation dates for when
15   the IRS would have purchased a commercial license for Neo4j® EE to be used in the CKGE due
16   to a change in hardware specifications and requirements.
17            54.       The IRS would have purchased a commercial subscription based off a modified
18   Enterprise Bundle for $156,000 from the October 1, 2017 price list (TX16) at the first hypothetical
19   negotiation for the CKGE.
20            55.       During the second hypothetical negotiation for the CKGE, the IRS would have
21   purchased a commercial subscription for an Enterprise Bundle with additional cores to match the
22   new hardware specifications of the CKGE, plus at least one test machine as reflected in Exhibit 2
23   hereto (Slide 17).
24            56.       Neo4j USA would have offered Discovery Bundle pricing to the IRS from period-
25   correct price list (TX16-TX19) for each project beyond the CKGE that used ONgDB on less than
26   3 machines. The hypothetical negotiation dates for when the IRS would have purchased a
27   commercial license for Neo4j® EE for those projects are attached hereto as Exhibit 3 (Slide 19),
28   and a summary of the gross revenue lost for each project is attached hereto as Exhibit 4 (Slide 20).
     4885-7955-3940.2                                   -8-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
       Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 9 of 28



 1            57.       Despite having a history of purchasing commercial subscriptions for Neo4j® EE
 2   with year-to-year renewals, with no multi-year subscriptions, the IRS may have negotiated an
 3   additional 15% discount on the subscription price during the aforementioned hypothetical
 4   negotiations as reflected in Exhibit 5 (Slide 22) attached hereto.
 5            58.       Neo4j USA’s sale of commercial licenses for Neo4j® EE would have been through
 6   its reseller, Intellipeak, and would receive a 7% reseller fee after any negotiated discount on the
 7   subscription fee. Exhibit 6 (Slide 24) hereto reflects the application of the 7% reseller fee in the
 8   scenario where the IRS was successful in negotiating an additional 15% discount on the already-
 9   discounted subscription price. Exhibit 7 (Slide 26) reflects the application of the 7% reseller fee
10   in the scenario where the IRS fails to negotiate an additional 15% discount on the already-
11   discounted subscription price.
12            59.       The first-year revenue generated from Neo4j USA’s sale of commercial licenses
13   for Neo4j® EE to the IRS also would have been subject to the payment of employee commissions
14   at the 2018 average rate of 15.26% or the 2019 average rate of 13.27%.
15            60.       The left column of the left-hand table in Exhibit 8 (Slide 28) hereto reflects the
16   application of a 15.26% employee commission applied to the first year of subscription for each
17   IRS project that used ONgDB after the application of a 7% reseller fee and an additional negotiated
18   15% subscription fee discount, for a total of $2,627,641 in lost profits that Neo4j USA incurred as
19   a result of the IRS’s use of ONgDB. Using the one-year treasury rate, which ranged between .07%
20   and 5.36% and compounding interest on an annual basis, the total prejudgment interest accrued on
21   this amount through December 1, 2023 is $126,727.
22            61.       The right column of the left-hand table in Exhibit 8 (Slide 28) hereto reflects the
23   application of a 15.26% employee commission applied to the first year of subscription for each
24   IRS project that used ONgDB after the application of a 7% reseller fee with no additional
25   subscription fee discount, for a total of $3,069,646 in lost profits that Neo4j USA incurred as a
26   result of the IRS’s use of ONgDB. Using the one-year treasury rate, which ranged between .07%
27   and 5.36% and compounding interest on an annual basis, the total prejudgment interest accrued on
28   this amount through December 1, 2023 is $147,136.
     4885-7955-3940.2                                   -9-
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 10 of 28



 1            62.       The left column of the right-hand table in Exhibit 8 (Slide 28) hereto reflects the
 2   application of a 13.27% employee commission applied to the first year of subscription for each
 3   IRS project that used ONgDB after the application of a 7% reseller fee and an additional negotiated
 4   15% subscription fee discount, for a total of $2,646,557 in lost profits that Neo4j USA incurred as
 5   a result of the IRS’s use of ONgDB. Using the one-year treasury rate, which ranged between .07%
 6   and 5.36% and compounding interest on an annual basis, the total prejudgment interest accrued on
 7   this amount through December 1, 2023 is $127,867.
 8            63.       The right column of the right -hand table in Exhibit 8 (Slide 28) hereto reflects the
 9   application of a 13.27% employee commission applied to the first year of subscription for each
10   IRS project that used ONgDB after the application of a 7% reseller fee with no additional
11   subscription fee discount, for a total of $3,091,392 in lost profits that Neo4j USA incurred as a
12   result of the IRS’s use of ONgDB. Using the one-year treasury rate, which ranged between .07%
13   and 5.36% and compounding interest on an annual basis, the total prejudgment interest accrued on
14   this amount through December 1, 2023 is $148,431.
15            64.       After the IRS awarded the CKGE Contract to eGov Solutions, it made an initial
16   $300,000 payment to eGov Solutions in July 2018. At that time, the money received from the IRS
17   on the CKGE Contract was to be paid in its entirety to Mr. Suhy, at his sole discretion.
18            65.       eGov Solutions maintained a Wells Fargo bank account for all the payments
19   received from the IRS (“the Wells Fargo Account”), which Suhy had access to and was authorized
20   to disburse the payments made by the IRS as he saw fit.
21            66.       At some point, Suhy asked eGov Sol to make the payments received from the IRS
22   to iGov rather than personally.
23            67.       eGov Solutions considered all the payments made by the IRS under the CKGE
24   Contract into the Wells Fargo Account to belong Suhy and later iGov.
25            68.       The IRS paid a total of $1,316,000 to eGov Solutions over the course of five years
26   under the CKGE Contract, which was deposited into the Wells Fargo Account. iGov and Suhy, in
27   turn, realized $1,316,000 in profits under the CKGE Contract. Using the one-year treasury rate,
28   which ranged between .07% and 5.36% and compounding interest on an annual basis, the total
     4885-7955-3940.2                                   - 10 -
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 11 of 28



 1   prejudgment interest accrued on this amount through December 1, 2023 is $91,044.
 2            69.       ASR Analytics LLC (“ASR”) engaged Suhy via iGov as a subcontractor to provide
 3   support, consulting and development services for the CKGE and other projects that involved
 4   implementations of ONgDB at the IRS between 2019 and 2022.
 5            70.       The subcontracts and task orders provided by ASR to iGov included: (1)
 6   Knowledge Graph API (KG-API) for CKGE; (2) Support for Corporate Graph Database; (3)
 7   Emerging Compliance Issues; and (4) IDT Innovation, all of which required iGov and Suhy to
 8   provide support, consulting and development services for the CKGE and other implementations
 9   of ONgDB at the IRS between 2019 and 2022.
10            71.       ASR Analytics paid iGov a total of $246,082.55 for work performed under these
11   subcontracts and task orders at the IRS. Using the one-year treasury rate, which ranged between
12   .07% and 5.36% and compounding interest on an annual basis, the total prejudgment interest
13   accrued on this amount through December 1, 2023 is $12,393.
14            72.       On February 16, 2021, the Court entered a Stipulated Judgment and Permanent
15   Injunction in favor of Plaintiffs in a related action, Neo4j, Inc. et al. vs. Graph Foundation, Inc. et
16   al., Case No. 5:19-cv-06226-EJD (N.D. Cal.). As reflected by the Stipulated Judgment and
17   Permanent Injunction, Plaintiffs did not receive any payments from the defendants in that related
18   action in conjunction with the entry thereof.
19   Dated: December 12, 2023                               HOPKINS & CARLEY
                                                            A Law Corporation
20
                                                            By: /s/ Jeffrey M. Ratinoff
21                                                             John V. Picone III
                                                               Jeffrey M. Ratinoff
22                                                             Attorneys for Plaintiffs and
                                                               Counter-Defendants
23                                                             NEO4J, INC. and NEO4J SWEDEN AB

24

25   Dated: December 12, 2023                                     /s/ Adron W. Beene
                                                                 Adron W. Beene
26                                                               Adron G. Beene
                                                                 Attorneys for Defendants and Counter-
27                                                               Claimants
                                                                 PURETHINK LLC, IGOV INC., and
28                                                               JOHN MARK SUHY
     4885-7955-3940.2                                   - 11 -
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
      Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 12 of 28



 1                              ATTESTATION OF E-FILED SIGNATURE
 2            Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in
 3   the filing of this document from all signatories for whom a signature is indicated by a
 4   “conformed” signature (/s/) within this electronically filed document and I have on file records to
 5   support this concurrence for subsequent production to the Court if so ordered or for inspection
 6   upon request.
 7   Dated: December 12, 2023                               HOPKINS & CARLEY
                                                            A Law Corporation
 8

 9                                                          By: /s/ Jeffrey M. Ratinoff
                                                               John V. Picone III
10                                                             Jeffrey M. Ratinoff
                                                               Attorneys for Plaintiffs and
11                                                             Counter-Defendants
                                                               NEO4J, INC. and NEO4J SWEDEN AB
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     4885-7955-3940.2
     STIPULATION TO THE AMOUNT OF PLAINTIFFS’ LOST PROFITS AND DEFENDANTS’ PROFITS; CASE NO. 5:18-CV-07182-EJD
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 13 of 28




                                               EXHIBIT 1
         Next Century – MPO Lost Profits
           Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 14 of 28



                      Calculated Lost Profits

                                            Discounted        Undiscounted
                                               Fee                Fee
      Subscription Fee                  $      2,266,950      $     2,667,000
      Reseller Fee (7%)                 $       (158,687)     $      (186,690)
          Subtotal                      $      2,108,264      $     2,480,310
      EE Commissions (15.26%)           $       (321,721)     $      (126,165)
      Lost Net Profits                  $    1,786,542        $   2,354,145


      Lost Net Profits with EE
      Commissions at 13.27%             $    1,828,497        $   2,370,598


 The Employee Commissions cost on the Undiscounted Fee is only applied
  to the first year’s revenue of year-to-year renewals


                                                                                 13
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 15 of 28




                                               EXHIBIT 2
              Internal Revenue Service Lost Profits
                    Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 16 of 28



                        Lost Revenue – CKGE Example
   CKGE (Main Graph)
                                                                          Test
                         Total         Base        Additional Core       Machine        Total List
         Period         Machines       Price            Price             Price           Price
     8/1/18 – 7/31/19      1       $     144,000 $            -   $          12,000 $       156,000
     8/1/19 – 7/31/20      3             199,000          180,000            24,000         403,000
     8/1/20 – 7/31/21      3             199,000          180,000            24,000         403,000
     8/1/21 – 7/31/22      3             199,000          180,000            24,000         403,000
     8/1/22 – 7/31/23      2             199,000          180,000            24,000         403,000
          Totals                   $    940,000    $     720,000     $     108,000     $ 1,768,000



 1st Hypothetical Negotiation for pre-CKGE platform: July 2018 (Dkt. No. 227,
  UDF No. 66; TX131)
 2nd Hypothetical Negotiation for CKGE: July 2019 (Dkt. No. 227, UDF Nos. 80-
  81)
   Dkt. No. 227, UDF Nos. 79-86; TX16-TX19 (Price Lists)
                                                                                                      17
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 17 of 28




                                               EXHIBIT 3
            Internal Revenue Service Lost Profits
                 Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 18 of 28



Assumed Hypothetical Negotiation Date for Other Instances
                               Column1           Column2
                                                   Initial
                                                Hypothetical
                                  Project      Negotiation Date
                                   YK1              8/1/2019
                               Corporate            8/1/2019
                                  Excise            8/1/2020
                                  Covid             8/1/2020
                               Policy Net           8/1/2021
                                Individual          8/1/2021
                                  CPEO              8/1/2022
                               Ghost Prep           8/1/2022




  Dkt. No. 227, UDF Nos. 87-108
                                                                                    19
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 19 of 28




                                               EXHIBIT 4
            Internal Revenue Service Lost Profits
                   Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 20 of 28



                       Gross Lost Revenue - Summary
 Column1    Column2         Column3         Column4        Column5        Column6          Column7
                                            Period Beginning
  Project       8/1/2018        8/1/2019       8/1/2020       8/1/2021        8/1/2022         Total
 CKGE      $       156,000 $       403,000 $      403,000 $      403,000 $        403,000 $     1,768,000
  YK1                              124,000        134,000        134,000          268,000         660,000
Corporate                           64,000         74,000         74,000           74,000         286,000
 Excise                                            74,000         74,000           74,000         222,000
  Covid                                            74,000         74,000           74,000         222,000
Policy Net                                                        74,000           74,000         148,000
Individual                                                        74,000           74,000         148,000
 CPEO                                                                              74,000          74,000
Ghost Prep                                                                         74,000          74,000
  Totals    $     156,000   $     591,000   $    759,000   $    907,000   $    1,189,000   $   3,602,000




Dkt. No. 227, UDF Nos. 87-108; TX16-TX19 (Price Lists)
                                                                                                            20
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 21 of 28




                                               EXHIBIT 5
             Internal Revenue Service Lost Profits
                    Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 22 of 28



                        Lost Revenue – Net of Discounts
       Column1      Column2          Column3         Column4       Column5        Column6
                                      Reduction for
                                     Applicable Price Discount for                  After 15%
       Project          Total List         List       Test Machine  Adjusted List    Discount
        CKGE        $      1,768,000 $         -   $       64,000 $     1,704,000 $     1,471,800
          YK1                660,000        20,000          8,000         632,000         537,200
      Corporate              286,000        30,000                        256,000         217,600
         Excise              222,000                                      222,000         188,700
         Covid               222,000                                      222,000         188,700
      Policy Net             148,000                                      148,000         125,800
       Individual            148,000                                      148,000         125,800
         CPEO                 74,000                                       74,000          62,900
      Ghost Prep              74,000                                       74,000          62,900
        Totals      $    3,602,000   $      50,000   $    72,000   $   3,480,000   $   2,981,400


 Assumed IRS would not pay for additional test machines with CKGE and YK1
 Deduction of price increase for Discovery Bundle for YK1 and Corporate
 While history of year-to-year renewals with no multi-year subscriptions, assumes the
  IRS would still negotiate an annual 15% discount
                                                                                                    22
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 23 of 28




                                               EXHIBIT 6
            Internal Revenue Service Lost Profits
                 Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 24 of 28



                   Saved Expenses – Reseller Margin

                                                                Net of Reseller
                   Project     Net Revenue      Reseller Margin    Margin
                  CKGE         $    1,471,800 $        103,026 $       1,368,774
                    YK1               537,200           37,604           499,596
                 Corporate            217,600           15,232           202,368
                   Excise             188,700           13,209           175,491
                   Covid              188,700           13,209           175,491
                 Policy Net           125,800            8,806           116,994
                 Individual           125,800            8,806           116,994
                   CPEO                62,900            4,403            58,497
                 Ghost Prep            62,900            4,403            58,497
                   Totals      $   2,981,400    $     208,698     $   2,772,702


 Net Revenue is after application of negotiated discounted subscription fee and 15%
  additional discount
 Applying Intellipeak’s reseller margin of 7% of Net Revenue
                                                                                       24
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 25 of 28




                                               EXHIBIT 7
            Internal Revenue Service Lost Profits
                 Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 26 of 28



                  Saved Expenses – Reseller Margin

                                                                Net of Reseller
                  Project      Net Revenue      Reseller Margin    Margin
                  CKGE         $    1,704,000 $        119,280 $       1,584,720
                    YK1               632,000           44,240           587,760
                 Corporate            256,000           17,920           238,080
                   Excise             222,000           15,540           206,460
                   Covid              222,000           15,540           206,460
                 Policy Net           148,000           10,360           137,640
                 Individual           148,000           10,360           137,640
                   CPEO                74,000            5,180            68,820
                 Ghost Prep            74,000            5,180            68,820
                   Totals      $   3,480,000    $     243,600     $   3,236,400


 Net Revenue assumes no negotiated additional 15% subscription fee discount
 Applying Intellipeak’s reseller margin of 7% of Net Revenue

                                                                                    26
Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 27 of 28




                                               EXHIBIT 8
              Internal Revenue Service Lost Profits
                    Case 5:18-cv-07182-EJD Document 234 Filed 12/12/23 Page 28 of 28



                                Calculated Lost Profits

                         Lost Profits                                              Lost Profits
                Discounted      Undiscounted                              Discounted      Undiscounted
 Project      Subscription Fee Subscription Fee             Project     Subscription Fee Subscription Fee
  CKGE        $     1,299,951 $      1,507,659              CKGE         $    1,308,926 $      1,517,708
    YK1               484,638          570,162                YK1               486,588          572,457
Corporate             194,648          228,997            Corporate             195,654          230,182
   Excise             166,564          195,958               Excise             167,728          197,328
   Covid              166,564          195,958               Covid              167,728          197,328
Policy Net            108,067          127,138            Policy Net            109,231          128,508
 Individual           108,067          127,138             Individual           109,231          128,508
   CPEO                49,570           58,318               CPEO                50,734           59,688
Ghost Prep             49,570           58,318            Ghost Prep             50,734           59,688
  Totals      $   2,627,641    $   3,069,646                Totals       $   2,646,557   $   3,091,392



 Based on 15.26% Employee                                   Based on 13.27% Employee
  Commission Rate.                                            Commission Rate.

                                                                                                     28
